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                              UNITED STATES DISTRICT COURT                    FILED
                               DISTRICT OF SOUTH DAKOTA                       OCT 1 3 20m
                                   SOUTHERN DIVISION                          ~~

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 UNITED STATES OF AMERICA,           *     CR 09-40105-10
                                     *
             Plaintiff,              *
                                     *
       vs.                           *              ORDER
                                     *
 GARY ENTINGER,                      *
                                     *
             Defendant.              *
                                     *
 ******************************************************************************
        Pending before the Court is the Defendant's Plea Agreement, Factual Basis Statement, and
 Supplement to Plea Agreement. A hearing to take the plea was held before the Magistrate Judge on
 September 22,2010, and Judge Simko issued a Report and Recommendation accepting the plea, and
 recommending to this Court that the Defendant be adjudged guilty as charged in the Third
 Superseding Indictment with Conspiracy to Distribute a Controlled Substance in violation of 21
 U.S.C. §§ 841(a)(l) and 846. After a careful review of the file, and the time for objections having
 expired,
        IT IS ORDERED:

        1.      That the Magistrate Judge's Report and Recommendation is ADOPTED by
                the Court, and the Defendant Gary Entinger is adjudged guilty.

        Dated this   J~ day of October, 2010.
                                              BY THE COURT:




 ATTEST:
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                                              United States District Judge
 JOSEPH HAAS, CLERK

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